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                                UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF KENTUCKY
                                   BOWLING GREEN DIVISION
                                     CASE NO. 1:06CR-24-R


  UNITED STATES OF AMERICA                                                                   PLAINTIFF

  v.

  COREY FERGUSON                                                                          DEFENDANT




                                     MEMORANDUM OPINION

          This matter is before the Court on Defendant Corey Ferguson’s Motion for a New Trial

  (Docket #436). The Government has filed a response (Docket #444) to which Ferguson has replied

  (Docket #447). This matter is ripe for adjudication. For the reasons that follow, Ferguson’s Motion

  is DENIED.

                                            BACKGROUND

          On June 12, 2007, following a four and one-half day trial, the jury returned guilty verdicts

  against Ferguson on two charges. The jury found Ferguson guilty of Count One of the Superseding

  Indictment, conspiring to possess with the intent to distribute and distribution of cocaine, in violation

  of 21 U.S.C. § 846. The jury returned a special verdict form indicating that the quantity of cocaine

  was greater than 500 grams but less than 5 kilograms. Additionally, the jury found Ferguson guilty

  of Count Eighteen of the Superseding Indictment, aiding and abetting the distribution of cocaine,

  in violation of 21 U.S.C. § 841(a)(1). The jury’s special verdict form indicated a quantity of 500

  grams or more of cocaine.

          Within seven days of the verdicts, Ferguson filed motions for a judgment notwithstanding

  the verdict pursuant to Federal Rule of Criminal Procedure 29, or, in the alternative, for a new trial
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  pursuant to Federal Rule of Criminal Procedure 33. These motions were denied on October 13,

  2007.

          On September 17, 2007, co-defendant William Downey was sentenced. Downey had

  previously pled guilty on July 6, 2006. During the sentencing, the prosecutor motioned the Court

  pursuant to Section 5K1.1 of the federal sentencing guidelines and 18 U.S.C. § 3553(e) for a

  downward departure. The Court granted the motion and sentenced Downey below the mandatory

  minimum sentence of 21 U.S.C. § 841(a)(1).

          By letter dated October 23, 2007, the prosecutor advised defense counsel that she had

  recently learned that an offer of consideration for trial testimony had been made to Downey in the

  trial of Ferguson. The prosecutor explained that she had conducted additional investigation and

  learned that the Assistant United States Attorney formerly assigned to the case had informed

  Downey that he would be considered for a sentence less than the statutory minimum if he testified

  truthfully during any trial in the matter.

          Ferguson filed the present motion on December 20, 2007.

                                               STANDARD

          Federal Rule of Criminal Procedure 33(1) provides that “[u]pon the defendant’s motion, the

  court may vacate any judgment and grant a new trial if the interest of justice so requires.” The

  decision to grant or deny the motion rests within the trial court’s sound discretion. United States

  v. Davis, 15 F.3d 526, 531 (6th Cir. 1994). “The defendant bears the burden of proving that a new

  trial should be granted.” Id.




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                                              DISCUSSION

  I.      BRADY MATERIAL

          In Brady v. Maryland, 373 U.S. 83 (1963), the United States Supreme Court imposed upon

  the prosecution in a criminal case the “obligation to turn over material that is both favorable to the

  defendant and material to guilt or punishment.” United States v. Bencs, 28 F.3d 555, 560 (6th Cir.

  1994). “[T]his disclosure obligation includes evidence that could be used to impeach the credibility

  of a witness.” Schledwitz v. United States, 169 F.3d 1003, 1011 (6th Cir. 1999). To obtain relief

  for a non-disclosure, a defendant must show that “(1) the new evidence was discovered after trial;

  (2) the evidence could not have been discovered earlier with due diligence; and (3) the evidence

  presented a reasonable probability that the outcome of the proceedings would have been different.”

  United States v. Winston, 55 Fed. Appx. 289, 297 (6th Cir. 2003) (citing Schledwitz, 169 F.3d at

  1011-12). Good faith or bad faith of the prosecution regarding a failure to disclose is irrelevant.

  Brady, 373 U.S. at 87.

          The Government concedes that the first and second prongs of the Schledwitz test have been

  met but argues that Ferguson cannot satisfy the third prong. The Government argues that Ferguson

  has failed to show that the evidence that Downey was promised some consideration for truthful trial

  testimony created a reasonable probability that the outcome of the proceedings would have been

  different.

          At trial, Downey testified that he had known Ferguson since 1994 and that the two did not

  get along well.1 Downey testified that he was involved in a drug transaction with Ferguson; stating

  that he never bought drugs directly from Ferguson, but that he went through a middleman. Downey


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               During voir dire, the prosecutor read Downey’s name as a witness to be called.

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  described two occasions in January of 2006 in which he and the middleman bought twelve ounces

  of powder cocaine from Ferguson to be split between the two. Downey described the phone

  conversations he heard between the middleman and Ferguson and stated that he had told the

  middleman to tell Ferguson that half of the order was for Downey. Downey testified that the drugs

  seized by the police when they came to his apartment in early February were from Ferguson.

         The Government introduced Downey’s Plea Agreement as an exhibit during trial. The

  prosecutor went through the Plea Agreement with Downey as well as his expectations regarding

  sentencing. Downey acknowledged that nothing in the written Plea Agreement promised him a

  sentence less than twenty years. On cross-examination, defense counsel specifically inquired as to

  Downey’s hope that he would receive a sentence below twenty years. Downey agreed that he was

  testifying because he hoped to get a 5K1 reduction. On re-direct, Downey stated that he did not

  want to testify. Downey stated in response to the prosecutor’s questioning that there was no promise

  of a 5K1 and that the best he could hope for was a twenty year sentence.

         In addition to Downey, the Government called eleven other witnesses. Of the twelve

  witnesses, six testified concerning their knowledge of Ferguson’s drug dealings. Three of these six

  were co-defendants in this case while the other three were defendants in other federal criminal cases.

  Several testified concerning in-person, hand-to-hand drug transactions with Ferguson. Of particular

  note, the jury heard testimony from co-conspirator Jerome Shanklin concerning a half-kilogram

  powder cocaine deal on February 1, 2006. The jury viewed videotapes and cellular telephone

  records that corroborated Shanklin’s testimony concerning the deal on February 1, 2006. The jury

  found Ferguson guilty of Count 18, covering the February 1, 2006 transaction. The jury also found

  Ferguson guilty of the conspiracy charge covering that time period.


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         Based on this evidence, the Court finds that Ferguson has failed to show that the evidence

  that Downey was promised some consideration for truthful trial testimony created a reasonable

  probability that the outcome of the proceedings would have been different.

  II.    PROSECUTORIAL MISCONDUCT

         Courts employ a two step approach to determine whether prosecutorial misconduct warrants

  a new trial; first the court must determine whether a prosecutor’s conduct and remarks were

  improper, and then the court must determine whether the impropriety amounts to reversible error.

  Girts v. Yanal, 501 F.3d 743, 758-59 (6th Cir. 2007) (citing United States v. Carroll, 26 F.3d 1380,

  1385 (6th Cir. 1994)). To determine whether the impropriety warrants reversal, the Court examines

  four factors:

         (1) whether the conduct and remarks of the prosecutor tended to mislead the jury or
         prejudice the defendant; (2) whether the conduct or remarks were isolated or
         extensive; (3) whether the remarks were deliberately or accidentally made; and (4)
         whether the evidence against the defendant was strong.

  Id. at 759 (quoting United States v. Carter, 236 F.3d 777, 783 (6th Cir. 2001)). When reviewing a

  challenge to a prosecutor’s comments at trial, the comments will be examined within the context of

  the trial to determine whether such comments amounted to prejudicial error. Id.

         Here, although the prosecutor’s statements may have been incorrect they did not concern a

  central issue in the case. Cf. id. Although the prosecutor asked Downey five questions concerning

  his hoped for sentence and the supposed lack of an agreement during re-direct examination, these

  were asked in succession. The Court does not consider this extensive questioning concerning the

  subject. After examining the record before it, this Court finds no evidence that the remarks were

  deliberately made. The evidence before this Court confirms that the prosecutor learned of the

  agreement for the first time at Downey’s sentencing hearing. Additionally, as outlined above, the

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  Court finds that there was strong evidence against Ferguson irrespective of Downey’s testimony.

         Therefore, this Court finds that these factors do not weigh in favor of reversal.

                                             CONCLUSION

         For the foregoing reasons, Ferguson’s Motion for a New Trial is DENIED.

         An appropriate order shall issue.




                                                                                  February 6, 2008




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